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      Case: 21-1525    Document: 00713809152           Filed: 05/07/2021   Pages: 2



      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                   Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                         Phone: (312) 435-5850
             Chicago, Illinois 60604                                               www.ca7.uscourts.gov




                                         NOTICE OF ISSUANCE OF MANDATE
 May 7, 2021


To:            Thomas G. Bruton
               UNITED STATES DISTRICT COURT
               Northern District of Illinois
               Chicago , IL 60604-0000



                                         JOANNE TROESCH and IFEOMA NKEMDI, on behalf of themselves
                                         and the putative class,
                                         Plaintiffs - Appellants

                                         v.
 No. 21-1525

                                         CHICAGO TEACHERS UNION, LOCAL UNION NO. 1, AMERICAN
                                         FEDERATION OF TEACHERS and THE BOARD OF EDUCATION OF
                                         THE CITY OF CHICAGO,
                                         Defendants - Appellees

  Originating Case Information:

 District Court No: 1:20-cv-02682
 Northern District of Illinois, Eastern Division
 District Judge John Z. Lee
Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
certified copy of the opinion/order of the court and judgment, if any, and any direction as to
costs shall constitute the mandate.


  RECORD ON APPEAL STATUS:                                   No record to be returned
    Case: 1:20-cv-02682 Document #: 57 Filed: 05/07/21 Page 2 of 2 PageID #:345
   Case: 21-1525    Document: 00713809152           Filed: 05/07/2021   Pages: 2



NOTE TO COUNSEL:
If any physical and large documentary exhibits have been filed in the above-entitled cause, they are
to be withdrawn ten (10) days from the date of this notice. Exhibits not withdrawn during this period
will be disposed of.

Please acknowledge receipt of these documents on the enclosed copy of this notice.

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 Received above mandate and record, if any, from the Clerk, U.S. Court of Appeals for the
 Seventh Circuit.

 Date:                                                Received by:


 _________________________                            ____________________________________




 form name: c7_Mandate(form ID: 135)
